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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


UNITED STATES OF AMERICA,                   )
                                            )
                   Plaintiff,               )
              v.                            )                      Civil Case No. 1:24-cv-1756
                                            )
$860,000.00 IN FUNDS SEIZED FROM CRYPTO.COM )
ACCOUNT ASSOCIATED WITH USER ID 44994111 )
AND EMAIL ADDRESS                           )
WESTCOUNTYCONSTRUCTION@COMCAST.NET )
                                            )
                   Defendant in Rem.        )


                         COMPLAINT FOR FORFEITURE IN REM

       COMES NOW the plaintiff, United States of America, by and through its counsel, Jessica

D. Aber, United States Attorney for the Eastern District of Virginia and by Annie Zanobini,

Assistant United States Attorney, brings this complaint and alleges as follows in accordance with

Supplemental Rule G(2) of the Federal Rules of Civil Procedure:

                                  NATURE OF THE ACTION

       1.      The United States brings this action in rem seeking the forfeiture of all right, title

and interest in the $860,000.00 in funds seized from the crypto.com account associated with User

Id 44994111 and email address westcountyconstruction@comcast.net (collectively “Defendant

Funds”), involving violations of 18 U.S.C. § 1343. The defendant property is subject to

forfeiture to the United States pursuant to 18 U.S.C. § 981(a)(1)(C).




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                                    THE DEFENDANT IN REM

       2.      The Defendant Funds were seized from a crypto.com account associated with

User Id 44994111 and email address westcountyconstruction@comcast.net. The defendant

property is currently in the possession of the Secret Service in New York.

                                    JURISDICTION AND VENUE

       3.      Plaintiff brings this action in rem in its own right to forfeit the Defendant Funds.

This Court has jurisdiction over an action commenced by the United States under 28 U.S.C. §

1345, and over an action for forfeiture under 28 U.S.C. § 1355(a).

       4.      This Court has in rem jurisdiction over the Defendant Funds under

28 U.S.C. § 1355(b)(1)(A) because acts and omissions giving rise to the forfeiture took place in

the Eastern District of Virginia.

       5.      Venue is proper in this judicial district under 28 U.S.C. § 1355(b)(1)(A) because

acts and omissions giving rise to the forfeiture took place in the Eastern District of Virginia.

                                     BASIS FOR FORFEITURE

       6.      18 U.S.C. § 981(a)(1)(C) provides for the forfeiture of any property, real or

personal, which constitutes or is derived from proceeds traceable to any offense constituting a

specified unlawful activity (“SUA”), as defined in 18 U.S.C. § 1956(c)(7), or a conspiracy to

commit such SUA. 18 U.S.C. § 1956(c)(7)(A) provides that any act or activity constituting an

offense under 18 U.S.C. § 1961(1) constitutes an SUA, with the exception of an act indictable

under subchapter II of Chapter 53 of Title 31 of the U.S. Code. 18 U.S.C. § 1961(1) references

violations of 18 U.S.C. § 1343.




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                                   STATEMENT OF FACTS

       A.      Business Email Compromise Overview

       7.      The United States Secret Service seized the Defendant Funds from a crypto.com

account associated with an individual involved in a business email compromise scam. This

individual will be referred to as SUBJECT 1 throughout this complaint.

       8.      A business email compromise (“BEC”) is a type of cybercrime, spear phishing,

where the scammer uses email to impersonate someone within the victim’s trusted network into

sending money or divulging confidential company information. The culprit poses as a trusted

figure in the victim’s network and then asks for a fake bill to be paid or for sensitive data they

can use in another scam be sent to accounts which are under the impersonator’s control.

       B.      Tracing of Fraud Proceeds to the Defendant Funds

       9.      On or about April 19, 2024, VICTIM 1, a resident of Reston, Virginia, which is in

the Eastern District of Virginia, contacted the United States Secret Service (“USSS”) to report

that he was the victim of fraud. VICTIM 1 reported that the fraud took place on or about April

17, 2024, during the transfer of closing costs for a real estate purchase to a law firm

concentrating in commercial and residential real estate in Cornelius, NC.

       10.     VICTIM 1 and his wife were conducting a real estate purchase for property

located in Denver, NC and in communication with a paralegal from the law firm in Cornelius

concerning the closing payment procedures. Unbeknownst to VICTIM 1 at the time, the law firm

began receiving emails around April 2, 2024 from spoofed email accounts which were similar to

VICTIM 1 and his wife’s true email accounts. In turn, VICTIM 1 and his wife also received

emails around April 2, 2024 from a spoofed email address which was similar to the paralegal’s


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true email account from the law firm. The spoofed email communication between VICTIM 1 and

the law firm were being intercepted by a third party.

       11.     VICTIM 1, his wife, and the law firm were unaware of the spoofed email

communications until on or about April 19, 2024, when VICTIM 1, his wife, and their realtor

arrived for a scheduled meeting at 10:00 am (EST) at the law firm. An attorney at the law firm

stated they thought the meeting was at 2:00 pm (EST) and asked VICTIM 1 and his wife when

they were going to wire the closing funds. VICTIM 1 reported he had wired the funds to Bank of

America on or about April 17, 2024, per the wiring instructions he received via email on or about

April 16, 2024. The spoofed e-mail directed VICTIM 1 to send a wire transfer to a Bank of

America Account ending in 0822 in the name of SUBJECT 1 Sole Prop DBA West County

Construction (“SUBJECT BANK ACCOUNT 1”).

       12.      VICTIM 1 immediately contacted his financial institution, Charles Schwab, to

report the real estate payment was disbursed to an unintended account.

       13.     As a result of this compromise, VICTIM 1 wired approximately $966,577.29 of

personal funds from Charles Schwab & Company Inc account ending in 1511 to SUBJECT

BANK ACCOUNT 1.

       14.     On or about April 16, 2024, the crypto.com account associated with User Id

44994111 and email address westcountyconstruction@comcast.net (“CRYPTO ACCOUNT”)

had a balance of zero.

       15.     On or about April 17, 2024, $750,000.00 was transferred from SUBJECT BANK

ACCOUNT 1 to a Bank of America Account ending in 1355 in the name of SUBJECT 1

(“SUBJECT BANK ACCOUNT 2”). Also on or about April 17, $750,000.00 was wired from


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SUBJECT BANK ACCOUNT 2 to the CRYPTO ACCOUNT.

       16.     On or about April 18, 2024, $216,000.00 was transferred from SUBJECT BANK

ACCOUNT 1 to SUBJECT BANK ACCOUNT 2. Also on or about April 18, $210,000.00 was

wired from SUBJECT BANK ACCOUNT 2 to the CRYPTO ACCOUNT.

       17.    As described in the preceding paragraphs, approximately $960,000.00 in fraud

proceeds were sent to the CRYPTO ACCOUNT.           Also on or about April 18, 2024, crypto.com

records indicate a transaction was made from the CRYPTO ACCOUNT in the amount of

1.588106 Bitcoin (BTC), valued at $98,276.94 in proceeds, to address:

bc1qz3ms6tlc2d4lkrp6q6al28tkknyzvaflqt4y72, via transaction ID:

b8c5516bd2373553b795c825247c54cbe6787afd16e97b69f5d0beb639ef4df8. The transfer was

initially for $100,000.00; however, the transaction involved fees in the amount of $1723.06.

Therefore, approximately $860,000.00 in proceeds remained in the CRYPTO ACCOUNT.

       18.     A subsequent trace followed the $98,276.94 to Binance, a cryptocurrency

exchange. Information obtained from Binance indicated the funds went to Address:

1LdEvfQGAY4stVWpCo4ynMt1NUVDbY7JZG via Transaction ID:

9c7d0132cebcaea7f46f3a1f098b592ca094dd2c498a80fb-d7b57ee51e48c2a0. Binance provided

“know your customer” information for the above address, which identified a Nigerian national

operating in Turkey as the owner of the account. Records show on or about April 18, 2024 the

equivalent of $89,999.97 was withdrawn from the account.

       19.     The movement of the wire fraud proceeds described in this complaint is depicted

in the attached government’s exhibit 1.




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        Interview of SUBJECT 1

        20.     On April 22, 2024, USSS left phone messages for SUBJECT 1 on two registered

phone numbers registered to West County Construction. The voice message greetings identified

that the numbers were associated with “West County Construction.”

        21.     Later the same day, USSS conducted a telephonic interview with SUBJECT 1,

who resides in Guerneville, CA. SUBJECT 1 indicated he wired approximately $776,000

from SUBJECT BANK ACCOUNT 2 to the CRYPTO ACCOUNT under his email address,

westcountyconstruction@comcast.net (via Community Federal Savings Bank).

        22.     USSS advised SUBJECT 1 that it appeared he was acting as a money mule, that

is, one who assists in the transfer of crime proceeds. USSS requested that SUBJECT 1 not

move the funds further.

        23.     SUBJECT 1 reported that the $996,577.29 wire transfer was a real estate

transaction set up by his “wife,” “Janette Lynn Nash.” SUBJECT 1 claimed that “Janette Lynn

Nash” is a contractor for the World Health Organization in Yemen, but SUBJECT 1 conceded

that he had only met her once.

                                        CLAIM FOR RELIEF
                           (Forfeiture under 18 U.S.C. § 981(a)(1)(C))

        24.     The United States incorporates by reference paragraphs 1 – 23 above as if fully

set forth herein.

        25. Title 18, United States Code, Section 981(a)(1)(C) subjects to forfeiture “[a]ny

property, real or personal, which constitutes or is derived from proceeds traceable to . . . any

offense constituting ‘specified unlawful activity’ (as defined in section n1956(c)(7) of this title)

or a conspiracy to commit such offense.”

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       26.      Title 18, United States Code, Section 1956(c)(7)(D) provides that the term

“specified unlawful activity” includes “an offense under . . . section 1343 (relating to wire

fraud).”

       27.      As set forth above, the Defendant Funds constitute criminal proceeds of the wire

fraud scheme.

       28.      As such, the Defendant Funds are subject to forfeiture to the United States

pursuant to 18 U.S.C. § 981(a)(1)(C).

                                    PRAYER FOR RELIEF

       WHEREFORE, the United States prays that due process issue to enforce the forfeiture of

the Defendant Funds and that due notice be given to all interested parties to appear and show

cause why said forfeiture of the Defendant Funds should not be decreed, that the Defendant

Funds be condemned and forfeited to the United States to be disposed of according to law, and

for such other and further relief as this Honorable Court may deem just and proper.

       DATED this QGday of October 2024.

                                              Respectfully submitted,

                                              JESSICA D. ABER
                                              UNITED STATES ATTORNEY


                                      By:     _/s/Annie Zanobini_________________
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                                        VERIFICATION

       I, Jayson Bradshaw, Special Agent with the Secret Service, declare under penalty of

perjury as provided by 28 U.S.C. § 1746, that the foregoing Complaint for Forfeiture in Rem is

based on information known by me personally and/or furnished to me by various federal, state,

and local law enforcement agencies, and that everything contained herein is true and correct to

the best of my knowledge.

               Executed LQ0DU\ODQG, thLVQGof October, 2024




                                             Jayson Bradshaw, Special Agent
                                             U.S. Secret Service




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                          EXHIBIT 1
